     8:00-cr-00189-JFB-FG3                   Doc # 81STATES
                                               UNITED    Filed: 10/07/05
                                                            DISTRICT COURT                  Page 1 of 6 - Page ID # 95
                                                      DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                       Plaintiff
v.                                                                        Case Number 8:00cr189

                                                                          USM Number 16628-047

MARCO HARDEMAN
                               Defendant
                                                                          Michael J. Tasset

                                                                          Defendant’s Attorney
___________________________________

                                                JUDGMENT IN A CRIMINAL CASE
                                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard conditions 1, 3, 8 12, and modified condition (Filing #67) which states the
defendant shall attend, successfully complete and pay for any diagnostic evacuations, treatment or counseling programs or approved
support groups for alcohol as directed by the probation officer of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:


                                                                                                           Date Violation
             Violation Number                             Nature of Violation                               Concluded


 1                                             Cited for possess/consume open                June 6, 2003
                                               alcohol container

 2                                             Arrest for issuing a bad check                March 1, 2004

 3                                             Arrest for DUI, careless driving and          May 10, 2005
                                               possess/consume open alcohol
                                               container

 4                                             Arrest for issuing a bad check                March 28, 2005

 5                                             Failure to submit written monthly reports     Ongoing

 6                                             Arrest for DUI, careless driving,             September 28, 2004 and February 23,
                                               possess/consume open alcohol                  2005
                                               container; testing positive for
                                               methamphetamine use; admission to
                                               methamphetamine use

 7                                             Failure to notify probation officer of new    June 6, 2003
                                               arrests                                       February 19, 2004
                                                                                             April 17, 2004
                                                                                             March 25, 2005

 8                                             Termination of treatment without              March 18, 2005
                                               permission from probation office

 9                                             Failure to attend credit advisor’s            December 9, 2004
                                               program as directed

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the provisions of Fed. R. Crim.
P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal must be filed with the Clerk of this Court within ten (10)
days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                                                        Date of Imposition of Sentence:
                                                                                                                   September 26, 2005

                                                                                                                   s/Joseph F. Bataillon
                                                                                                            United States District Judge

                                                                                                              October 7, 2005
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Time Served.




                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant
_

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of one
(1) year beginning September 26, 2005.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so by
       the probation officer;
10.    The defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;
13.    As directed by the probation officer, the defendant shall notify third parties of risks that may
       be occasioned by the defendant’s criminal record or personal history or characteristics and
       shall permit the probation officer to make such notifications and to confirm the defendant’s
       compliance with such notification requirement.
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                           SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
      night, with or without a warrant, at the request of the United States Probation officer to determine the
      presence of alcohol and/or controlled substances, firearms or any other contraband. Any such items
      found may be seized by the United States Probation officer. This condition may be invoked with or
      without the cooperation of law enforcement officers.

2.    The defendant shall provide the United States Probation officer with access to any requested financial
      information.

3.    Pursuant to 18 U.S.C. 3583(d), defendant shall submit to a drug test within fifteen (15) days of release
      on supervised release and at least two (2) periodic drug tests thereafter to determine whether the
      defendant is using a controlled substance. Further, the defendant shall submit to such testing as
      requested by any probation officer to detect the presence of alcohol or controlled substances in the
      defendant's body fluids and to determine whether the defendant has used any of those substances.
      Based on the defendant’s ability to pay, the defendant shall pay for the collection of urine samples
      to be tested for the presence of alcohol and/or controlled substances in an amount determined by the
      probation officer.

4.    The defendant shall complete 240 hours of community service as approved and directed by the
      United States Probation Officer. The defendant shall be responsible for providing the United States
      Probation Officer with written proof of the number of hours completed.

5.    Pursuant to the plea agreement, the defendant shall be prohibited from hunting, fishing or trapping
      during his period of supervised release.

6.    Pursuant to the plea agreement, the defendant shall not obtain any hunting, fishing or trapping license
      or permit in any state during the period of supervised release.

7.    The defendant shall not associate with anyone while they are hunting, fishing or trapping.

8.    The defendant shall continue with aftercare treatment as directed by the probation office.

9.    The defendant shall report to the United States Probation office for the District of Nebraska between
      the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402) 661-
      7555, within seventy-two (72) hours of being placed on supervised release and every time thereafter
      as directed and ordered by the probation officer.
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                           CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                  Total Restitution

            $50.00                          $500.00              $862.50 to be paid jointly
                                                                 and severally with Robert
                                                                 McCulloch


                                             FINE

                      Fine in the amount of $500.00 has been paid in full.

                                        RESTITUTION

                      Restitution in the amount of $862.50 has been paid in full.

                                        FORFEITURE

The defendant is ordered to pay a forfeiture of collateral in the amount of $3,000.00.

                                    OTHER PAYMENTS

The defendant is ordered to pay $1,000.00 as a donation to the Nebraska Game Law
Investigation Cash Fund which has been established by § 37-327.01 of the Revised
Statutes of Nebraska.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:


        The special assessment in the amount of $50.00 has been paid in full.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
